EXHIBIT 16
                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS



 AMERICAN ASSOCIATION OF
 UNIVERSITY PROFESSORS—HARVARD
 FACULTY CHAPTER et al.,                           Case No. 1:25-CV-10910-ADB

                       Plaintiffs,

                v.

 UNITED STATES DEPARTMENT OF
 JUSTICE et al.,

                       Defendants.



                       DECLARATION OF JOHN QUACKENBUSH

I, John Quackenbush, hereby declare as follows:

       1.     I am the Henry Pickering Walcott Professor of Computational Biology and Bioin-

formatics at the Harvard T.H. Chan School of Public Health. I am also the Chair of the Department

of Biostatistics at the School of Public Health. I have been a Professor at the School of Public

Health since 2005 and Biostatics Department Chair since August 6, 2018.

       2.     I hold a PhD in theoretical physics from UCLA which I received in 1990. Following

two years as a postdoctoral fellow in physics, in 1992 I applied for and received a prestigious

Special Emphasis Research Career Award to work on the Human Genome Project. I have had

continuous federal funding to support my research ever since.

       3.     I am a highly accomplished researcher, with more than 340 scientific papers pub-

lished and over 101,000 citations. I have been a leader in the open-science movement and among

my honors is recognition in 2013 as a White House Open Science Champion of Change. Because
of my contributions to advancing computational and systems biology and using these to better

understand disease, I was elected to the National Academy of Medicine in 2022.

       4.      I am over the age of 18 and competent to testify as to the matters set forth in this

affidavit based on my own personal knowledge.

       5.      I received my first National Institutes of Health (“NIH”) research grant in 1992 and

my first research grant from the National Cancer Institute (“NCI”) in 1997 and have had significant

levels of continuous funding from the NIH and NCI ever since. These grants are awarded through

a rigorous and competitive process to evaluate the quality, significance, and potential impact of

the research proposed and ultimately carried out. My work has emphasized understanding cancer

and searching for better ways to treat it and other diseases. My current research involves develop-

ing methods that map the processes that control how cells change as they transition from health to

disease—basically asking what processes turn a normal cell into a cancer cell. A core component

of my work has been studying how these control processes depend on sex and gender as biological

variables. Addressing the role that sex plays has been critical as many cancers exhibit strong dif-

ferences between males and females. For example, males are at a greater risk of developing colon

cancer than females, but males respond better to chemotherapy.

       6.      I am a member of the American Association of University Professors (“AAUP”)

and AAUP–Harvard Faculty Chapter.

       7.      I am aware that the Trump administration has taken a series of actions targeting

Harvard. In particular, I am aware that on March 10, 2025, the federal government sent a letter to

Harvard and other universities warning of potential enforcement actions. I am aware that on March

31, 2025, the federal government announced a comprehensive review of federal contracts and

grants at Harvard University and its affiliates. I am aware that officials from the Trump




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administration sent a letter to Harvard on April 3, 2025 demanding that Harvard immediately take

a long list of actions to remain a recipient of federal funding (the “April 3 Letter”). I am aware that

this was followed by a subsequent letter from Trump administration officials on April 11, 2025

with more detailed demands that “incorporate[d] and supersede[d] the terms” of the April 3 Letter

and which the Trump administration proposed would serve “as the basis for an agreement in prin-

ciple that will maintain Harvard’s financial relationship with the federal government” (the “April

11 Letter,” and together with the April 3 Letter, the “Demand Letters”). Both of the Demand Letters

were made public and I have read the demands listed in the Demand Letters.

       8.      I am aware that, on April 14, 2025, the DOJ Task Force to Combat Anti-Semitism

froze over $2.2 billion in federal grants to Harvard. I understand that the federal government has

since refused to disburse funds obligated to these grants despite receiving requests from Harvard

University to do so.

       9.      I am aware that on May 5, 2025, Secretary of Education Linda McMahon an-

nounced that “Harvard should no longer seek GRANTS from the federal government, since none

will be provided.” I am aware that on May 6, 2025, the NIH terminated its grants to Harvard. I am

aware that on May 9, 2025, the Department of Agriculture terminated its grants to Harvard. I am

aware that on May 12, 2025, the Department of Energy, Department of Defense, the National

Science Foundation, and the Department of Housing and Urban Development each terminated

their grants to Harvard. Letters communicating each of these terminations were made public, and

I have read each of those letters.

       10.     I am also aware of public statements made by the Trump administration beginning

in early 2025 attacking the work of university researchers and the integrity of American




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universities and making a range of threats about how the federal government intended to use its

authority to impose numerous demands on Harvard University specifically.

       11.     I am aware that Harvard University has pledged $250 million in one-time stopgap

funding to replace some of the more than $2 billion in terminated funds. That amount is far from

sufficient to replace the terminated federal funds for the School of Public Health, which has the

smallest endowment and donor base among the affected schools and departments at Harvard.

About 60% of the School of Public Health’s budget relies on federal funds, and most of the $250

million promised will likely not go to the School of Public Health. In fact, we have recently been

informed that only about $25 million will be available to cover research costs for terminated pro-

jects during the coming fiscal year—less that 1/10 of the federal funding the School of Public

Health has lost. This promised stopgap funding is also an off ramp to allow researchers to wrap up

current research and not a promise of sustained funding should federal funding not be restored.

       12.     About 50% of my salary and research was funded by a NCI Outstanding Investiga-

tor Award through the R35 grant mechanism. The R35 grant mechanism was designed to recognize

investigators with a long career of exceptional contributions and provides $600,000 of funding a

year for seven years. The overarching theme of my research funded by this award was to develop

new methods to map processes involved in cellular regulation, to develop software tools that would

allow us and other scientists around the world to map and study these controls, and to study sex as

a biological variable in the context if how it affects cancer.

       13.     The NCI announced a pause in new awards in April but confirmed that the funding

of current awardees would continue for the duration of their award. However, I received notice

from Harvard on May 15, 2025 that this award had been terminated.




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       14.     Prior to this grant termination, I had already lost another stream of my federal fund-

ing—a NIH grant specifically to develop methods that would help us understand sex and gender

as biological variables by allowing us to account for the fact that biological females have two X

(XX) “sex chromosomes,” or “allosomes,” while males replace one X with a Y chromosome (XY).

That project was funded four years ago and my team had submitted a renewal application in Oc-

tober to continue to develop methods to study how different chromosomal backgrounds result in

different risks for disease. After watching the review date for the grant change many times after

January 20, 2025, on April 4, I checked the NIH website “eRA Commons” and discovered that the

project no longer had a review date assigned. I arranged a conversation with an NIH program

officer on April 7, who on that date informed me that the NIH program funding the grant had been

cancelled as “it is no longer was consistent with NIH priorities,” and that the NIH grant review

panel “study section” was permanently disbanded. This project covered a significant part of my

remaining scientific effort and salary. Now that the Trump administration has terminated billions

in federal grants to Harvard and indicated it will not provide future grants to Harvard, I have no

avenues left to secure alternative funding for this research.

       15.     Losing all of my federal funding means the large repository of more than 20 cutting-

edge software tools that my team developed over many years, all of which are freely and publicly

available as open-source tools for academic and commercial use, will soon become dysfunctional

unless they are transferred to one of my former trainees overseas.

       16.     The termination of my federal funding has long term implications for my future

research. The Trump administration’s threat to not provide future grants to Harvard will effectively

prevent me from securing federal funding to keep my research going for the foreseeable future.

Even if federal funding is later restored, it takes a year or more for new research applications to be




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reviewed and funded; researchers such as myself have to line up grants years in advance. And with

the proposed decrease in the NIH budget, I will be at a particular disadvantage as I will not have

progress to show or recent preliminary analyses to demonstrate the ongoing value of my work.

And while some have suggested that I could cover my work through grants from non-governmental

foundations, that pool of funding is much smaller than what the NIH had provided and competition

for it is likely to be even more fierce.

        17.     The termination of my federal funding will have long-term impacts on society. My

research has advanced the cancer research field in important ways. I published at least 40 papers

under my R35 grant, some about methods and some about applications, in which we uncovered

important aspects of the terrible ways in which cancers adapt to elude treatment. For example, I

published a paper that helps understand why women with colon cancer do not respond as well to

chemotherapy and I have looked at similar questions with lung cancer, brain tumors, and responses

to immune-oncology drugs. My team built the first system capable of modeling how each of the

25,000 genes in the human genome change over time and demonstrated its application to develop-

ment of breast cancer. This method was recognized by the NCI as one of the most important ad-

vances in cancer research in 2024. Now, I will not be able to move this important work forward.

        18.     Tenured faculty at the School of Public Health such as myself are expected to fund

90% of our workplace effort, nearly all coming from grant-funded research, and failure to meet

that threshold will result in a substantial salary reduction. Trying to re-establish a research program

after the rug has been yanked out from under it with little notice puts me in an untenable position.

Unless funding is restored by the end of the summer and the federal government agrees to fund

new and renewal grant proposals from Harvard researchers, my research will be effectively dead

unless I find a position elsewhere—possibly overseas.




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         19.   Even if I am able to secure funding again, years in the future, having a gap in their

research record puts a researcher at a disadvantage irrespective of past accomplishments. For ex-

ample, I have participated in grant reviews where I had to fight to get someone a grant when they

had a gap in their research record because of personal or family reasons such as going on maternity

leave.

         20.   Part of my role as a faculty member is to train the next generation, and the federal

funding terminations at Harvard will have a devastating impact on graduate students and postdoc-

toral fellows (“postdocs”). I have an exceptional record of training over 80 postdocs, many of

whom are now at leading institutions across the country and around the world. The students I have

trained have also done exceptionally well and are leaders in their own right. I currently have three

postdocs and one graduate student. One of my postdocs applied for a NIH career development

award. That grant was reviewed and received an exceptional score, but the grant never received

final approval and because of the Trump administration actions targeting Harvard, it may never be

funded. Another postdoc was planning to submit a proposal to study autism; now she is unsure if

she should submit that proposal or find someone else to mentor her at a different institution. She

is also looking for jobs outside of academia. All three of my current postdocs are also considering

positions overseas in Canada and Europe; that loss would be a blow to science in the U.S. My

graduate student will likely also leave my research group when she completes her studies and is

applying for jobs outside of academia. All four will likely be gone in the near future and with them,

promising lines of research will disappear. Even if federal funding is later restored, new postdocs

and graduate students would face hurdles restoring the research lines that had been terminated due

to a lack of continuity and loss of institutional knowledge.




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       21.     A critical part of my commitment to training is reflected in my involvement with

training grants from the NIH. My department currently has four training grants—one in genetics

and genomics, a second in HIV/AIDs research, a third in environmental health, and the final one

in cancer (now in its 44th year). These training grants support U.S. citizens and permanent residents

by providing tuition and a stipend and generally cover those students for their first two years (and

sometime longer) after which they join faculty research teams. I began the genetics and genomics

training grant and served as its co-principal investigator for years before launching another “big

data” training program.

       22.     All four of my department’s training grants were subject to the mass termination

notice, meaning that more than forty students in our program are now facing a loss of support to

continue their studies and complete their research. The genetics and genomics training grant was

reviewed in the fall and was slated for funding this year, but the grant was never rewarded. Because

of this and other uncertainties caused by threats from the Trump administration, our incoming PhD

class only has four students—far fewer than the twelve to fifteen we normally admit. The damage

to the future of research in the U.S. is astounding.

       23.     I have been co-principal investigator for the cancer training grant for the past four

years, which supports ten students and one postdoctoral fellow. I spent most of the last four months

preparing a renewal application that would have supported eight students to receive training in

cancer research in the following year. That grant application was submitted but now it will likely

never be reviewed.

       24.     The costs of the Trump administration’s terminations of federal research funding

for Harvard University are devastating. Personally, those of us who have dedicated our lives to

doing life-changing research for the public good have seen our careers devastated—I have 33 years




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of continuous NIH funded research that has been stopped. The costs to our students and postdocs

who train by apprenticing with working researchers is also devastating. If I have no funds, my

mentees cannot train. And the cost to the U.S. and its future health and well-being as well as its

world leadership in science and scientific innovation are also terrible as the Trump administration

decimates an 80 year government-academic research partnership and threatens to wipe out an en-

tire generation of researchers.



I declare under penalty of perjury under the laws of the United States of America that the foregoing

is true and correct.


Dated: June 2, 2025                                  Signed:

                                                     John Quackenbush, PhD
                                                     Professor, Harvard T.H. Chan School of Pub-
                                                     lic Health
                                                     Chair, Department of Biostatistics




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